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 Andre Nesbit
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                                       UNITED STATES DISTRICT COURT                    U.S. DISTRICT COURT
                                                                                   SOUTHERN DISTRICT OF INDIANA
                                                                                       Roger A.G. Sharpe, Clerk

                                                      OF


                                             SOUTHERN INDIANA




 ANDRE NESBIT                                      Case No.: 1:23-cv-00702-JRS-MKK

                 Plaintiff,

 vs.                                               Reply in Support of the Plaintiffś Motion for
                                                   Default Judgment
 The City of Indianapolis, Speedway LLC

                 Defendants,




       Plaintiff, Andre Nesbit, submits the following Reply to the Defendantś, The City of

  Indianapolis, Opposition to Plaintiffś motion for Default Judgment.




                         REPLY IN SUPPORT OF THE PLAINTIFFŚ MOTION FOR DEFAULT JUDGMENT
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     A. LEGAL AUTHORITY


         Eitel v. McCool, 782 F.2d 1470, 1471–72 (9th Cir. 1986): (1) the possibility of

 prejudice to the plaintiff, (2) the merits of plaintiff’s substantive claim, (3) the sufficiency of

 the complaint, (4) the sum of money at stake in the action, (5) the possibility of a dispute

 concerning material facts, (6) whether the default was due to excusable neglect, and (7) the

 strong policy underlying the [FRCP] favoring decisions on the merits.


 B. BACKGROUND
         The defendants were served the Complaint on 6/30/2023 pursuant to Rule 5 of the

 Rules of Civil Procedure.


         The Defendants have failed to plead or otherwise defend against the plaintiffś

 Complaint in 21 days pursuant to Rule 12 of the rules of Civil Procedure.


 C. The possibility of prejudice to the plaintiff


         If the default judgment is not entered, it would prejudice the plaintiff. The defendant

 had an adequate amount of time to respond and the court has not granted either Defendant

 an extension of time.




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         Additionally, the defendant is stating that the order granting the plaintiff Leave to

 file a second Amended Complaint also somehow extends the time for an answer. This is not

 true.


         An attorney cannot deputize himself, through his own interpretation, to grant himself

 an extension of time without an order from the presiding judge. No order has been granted.

 Additionally, the court has not granted the Defendantś motion to screen the complaint, for

 the Defendants motion is deficient in many ways.


         Therefore, the defendants are in violation of the rules. They ONLY have 21 days to

 respond to the complaint without Leave from court.


 D. The merits of plaintiff’s substantive claim


         All allegations or facts in the plaintiffś Amended complaint are deemed to be true.

 Additionally, the plaintiff has filed a supporting Declaration and Exhibit List.


 E. The Sum of Money at Stake in the Action


         The amount of money at stake is a fair amount of money. Additionally, The nature of

 this case with punitive damages.




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               The amount of money at stake is compensatory in nature for the damages

        sustained by the plaintiff. Additionally, this is an amount of money the Defendants

        will be able to pay.


 F The Defendant has not Disputed any material facts


        The Defendants have not disputed any material facts. Neither Defendant has filed a

 responsive pleading.


 G. Whether the default was due to excusable neglect


        Both Parties have appeared in this case and have had over 21 one days to respond

 and have done so with no excuse, only their WILLFUL neglect.


 H. (7) The strong policy underlying the [FRCP] favoring decisions on the merits.


        The merits of the plaintiffś well pleaded complaint are strong and have not been

 disputed.


 The defendant has not denied any allegations. Thus, they committed the act.




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   I.     Screening


          There is no statute that states the court has a duty to screen, but in any case, a

 screening does not affect any deadlines unless (i) the complaint was dismissed or (ii) the

 Defendantś receives Leave from court.


          Neither has occurred in this case.


                                          Conclusion
           For all the foregoing reasons and supporting facts and authorities, it is respectfully

  requested that the Court: (i) to GRANT the Plaintiff’s Motion for a Default Judgment against

  The City of Indianapolis and Speedway, LLC and (ii) Deny any requests for an extension of

  time.




                 Dated: July 27th, 2023               Respectfully Submitted



                                                           Andre Nesbit

                                                       Attorney Name




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                                    CERTIFICATE OF ELECTRONIC SERVICE

 I certify that this Reply in Support of the Plaintiffś Motion for Default Judgment was sent to each person, The City

 of Indianapolis and Speedway LLC by electronic service to attorneys Haley Johnston and Thomas L. Davis at their

 respective email addresses: hjohnston@fbtlaw.com and tdavis@fbtlaw.com; and Jessica Reagan Gastineau and

 Michael Brian Coppinger , II at their respective email addresses: jess.gastineau2@indy.gov and

 brian.coppinger2@indy.gov.



                   Dated: July 31st, 2023                 Respectfully Submitted



                                                                Andre Nesbit

                                                            Attorney Name




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